                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE

RICKY MATLOCK and                         )
BRIDGET MATLOCK,                          )
                                          )
      Plaintiffs,                         )
                                          )     Case No.: 3:18-cv-00047
v.                                        )     Judge William L. Campbell, Jr.
                                          )     Magistrate Alistair Newbern
ROUNDPOINT MORTGAGE SERVICING             )
CORPORATION; EMBRACE HOME                 )
LOANS, INC.; and LOANCARE, LLC            )
                                          )
      Defendants.                         )
______________________________________________________________________________

             AGREED PROTECTIVE ORDER OF CONFIDENTIALITY
______________________________________________________________________________

           Based upon the agreement of the parties per their Joint Motion for Protective Order, it is

ORDERED that:

           1.     The Defendants, RoundPoint Mortgage Servicing Corporation and Embrace Home

Loans, Inc. (collectively, the “Defendants”) may designate as “Confidential” such documents and

information produced by them that they respectively believe in good faith constitute, contain, or

reflect confidential information, and shall so mark such documents. (Such materials are hereinafter

referred to as “Confidential Materials”). Designation of material as Confidential Materials shall be

accomplished by placing on the first page of each document to be so designated a stamp or notice

“Confidential” in such a manner as will not interfere with the legibility thereof.

           2.     Access to Confidential Materials and the information they contain or reflect shall

be strictly limited to:

                  (a)     Counsel for Plaintiffs and the Defendants, and counsel for any other parties

to this action who agree to be bound by the terms of this Order (“Stipulating Counsel”);

                  (b)     Legitimate employees of Stipulating Counsel who are required to assist in


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the conduct of this action;

               (c)     The Court and court employees, court reporters and stenographic reporters;

               (d)     Any other person whom the Defendants and Plaintiffs, as the case may be,

agree in writing or whom the Court may direct; and

               (e)     Outside witnesses, consultants and/or experts, subject to the provisions

hereof. Confidential Materials and the information they contain or reflect shall not be shown or

revealed to any officer, director, employee, or agent of any party represented by Stipulating

Counsel except to the extent allowed by paragraph 4 hereof.

       3.      After first conferring with the Defendants’ counsel, any Stipulating Counsel may,

to the extent necessary for the prosecution or defense of this action, in good faith, make

Confidential Materials available to witnesses, consultants, or expert witnesses, provided that, prior

to delivering Confidential Materials to the witness, consultant, or expert, Stipulating Counsel shall

obtain from the witness, consultant, or expert an undertaking in the following form signed and

dated by the witness, consultant, or expert:

               I hereby acknowledge that I am to receive information and/or documents

       designated as confidential pursuant to the terms of the Agreed Protective Order of

       Confidentiality dated ______________________, in Civil Action No. 3:18-cv-

       00047, entitled Ricky Matlock and Bridget Matlock, Plaintiffs, v. RoundPoint

       Mortgage Servicing Corporation; Embrace Home Loans, Inc.; and LoanCare, LLC,

       Defendants, pending in the United States District Court for the Middle District of

       Tennessee. I acknowledge receipt of a copy of that Agreed Protective Order of

       Confidentiality, and certify that I have read it and that I agree to be bound by the

       terms and restrictions set forth therein.



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               I further agree that any information designated confidential pursuant thereto

       which is delivered to me will be segregated and kept by me in a safe place, and will

       not be made known to others except in accordance with the terms of said Agreed

       Protective Order of Confidentiality. I further understand and agree that any

       summaries or other documents containing knowledge or information obtained from

       confidential documents or information furnished to me shall also be treated by me

       as confidential. I further agree to notify any stenographic or clerical personnel who

       are required to assist me of the terms of said Agreed Protective Order of

       Confidentiality. I also agree to dispose of all such confidential documents and all

       summaries or other documents containing knowledge or information obtained

       therefrom in such manner as I may be instructed after completing my services.

       4.      Deposition testimony concerning any Confidential Materials which reveals the

contents of such materials, may be designated as confidential in accordance with paragraph 1 of

this Order. At the request of Stipulating Counsel, the entire transcript of any deposition shall be

deemed to be Confidential Materials within the terms of this order. The cover page of such

transcript shall thereupon be prominently so marked.

       5.      Interrogatories, document requests, requests for admissions and responses thereto,

as well as any other Court paper, briefs, motions or letters, which contain or reflect Confidential

Materials within the terms of this Order shall be segregated and prominently so marked in

accordance with paragraph 1 hereof.

       6.      To the extent Confidential Materials or materials which reveal the contents of

Confidential Materials are filed, prior to trial, in this or any other Court, or the substance thereof

is revealed in papers filed in this or any other Court or in the transcript of any Court hearings or



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other proceedings, such materials, papers and/or transcripts shall be segregated and prominently

marked in accordance with paragraph 1 hereof and as being subject to the terms of this Order; and

the same shall be delivered to the Court enclosed in a sealed envelope bearing the caption of this

action, an indication of the nature of the contents and the following legend:

                                             CONFIDENTIAL

       This envelope contains documents or information designated confidential pursuant

       to an order entered by the United States District Court for the Middle District of

       Tennessee in the above-captioned action. This envelope shall not be opened or

       unsealed other than by a Judge of this Court or at his or her express direction, and

       its contents shall not be displayed or revealed except as the Court may order. This

       envelope and its contents shall at all times be maintained separate and apart from

       the publicly available files of this action.

       7.      Every person, firm, or organization receiving Confidential Materials pursuant to

this Order shall use the same solely for purposes of this action, and shall not sell, offer to sell,

make available, communicate or give the same or its substance in whole or in part to any other

person, firm or organization, except in accordance with this Order.

       8.      Receipt of documents, information or other materials designated as Confidential

Materials pursuant to this Order shall not constitute an acknowledgment that the same are in fact

confidential or otherwise legally protective, and Stipulating Counsel shall not be obliged to

challenge the propriety of any confidentiality designation. Until and unless the Court may finally

determine that such documents, information or materials are not properly designated as

Confidential Materials pursuant hereto, the same shall continue to be treated as Confidential

Materials in accordance with the terms of this Order.



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       9.      By making information and documents designated as Confidential Materials

available for use in this action, the Defendants have not waived or compromised, and neither the

clients of Stipulating Counsel nor any other person, firm or organization shall contend that the

Defendants have waived or compromised, the confidentiality or protectability of the same, or of

the activities of which they are a part, or of any processes, methods, techniques, operations,

equipment, conclusions, insights or results.

       10.     Use at trial of documents, information and materials designated as Confidential

Materials shall not be governed by this Order.

       11.     If any party disputes a designation as Confidential Materials, the parties must first

attempt in good faith to resolve the dispute without the assistance of the Court. If the parties cannot

agree upon the designation, counsel for the party objecting to the designation may file an

appropriate motion with the Court seeking an order stating that the disputed designation is

improper. The party that made the Confidential Material designation has the burden to demonstrate

that its designation is proper. Until a final resolution of the dispute is achieved, whether by consent

or court order, all parties shall treat the designated material as Confidential Materials.

       12.     Upon termination of this Litigation, all documents, information and material

designated or treated as Confidential Materials pursuant to this Order shall promptly be delivered

to counsel for the Defendants, as the case may be, or their designee, or disposed of pursuant to

further order of the Court. Alternatively, any receiving party may, at its option and cost, destroy

such materials in a secure manner that ensures confidentiality and renders the information no

longer recognizable. With respect to produced ESI, persons or entities in possession of such

information shall make reasonable efforts to destroy such information from their active systems

and hardware, including email boxes and litigation support databases. If a party chooses to securely



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destroy documents, within ninety (90) calendar days following the conclusion of all proceedings

in this Litigation, the destroying party must certify in writing to the producing party that all

reasonably accessible Confidential Material has been destroyed.

        Notwithstanding this provision, at the conclusion of all proceedings in this Litigation, a

receiving party shall not be required to delete information that may reside on their respective

electronic disaster recovery systems; however, any Confidential Material are subject to an ongoing

obligation to protect the confidentiality of the material. To the extent Confidential Material from

such electronic disaster recovery system has been restored in the normal course of business,

however, such Confidential Information shall be destroyed as set forth in this paragraph.

        Despite the provisions of this paragraph, counsel of record may keep for archival purposes

copies of all deposition transcripts, court filings, and attorney work product that contains or

explicitly references Confidential Material, provided the Documents and Information are treated

as confidential under this Order and viewed only by the attorneys and their employees and not by

the parties themselves or any other individual or entity.

        Nothing in this paragraph shall require a Party to return or destroy Confidential Information

if the Party had rights independent of this Order to possess or use the Confidential Information.

        For purposes of this Order, “termination of this Litigation” or the “conclusion of all

proceedings” shall occur upon full settlement of all issues involved in the matter or the exhaustion

of all appeals.

        13.       Nothing herein shall preclude any party to this action from moving to vacate or

modify this order or any provision thereof, provided such party shall have complied with duty

under FED. R. CIV. P. 26 to confer in good faith with the other party in an attempt to resolve the

matter without court intervention. Such motion to vacate or modify shall be accompanied by the



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certification required by FED. R. CIV. P. 26(c).



ENTERED This 4th day of April, 2019.




                                              ALISTAIR E. NEWBERN
                                              U.S. MAGISTRATE JUDGE



APPROVED FOR ENTRY:

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